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                           UNITED STATES DISTRICT COURT
                               DISTRICT OF COLUMBIA



UNITED STATES OF AMERICA


              V.                                     DOCKET NO. CR-721-21

HOWARD RICHARD ON


     DEFENDANT'S,         OWARD RICHARDSON'S, SENTENCING MEMORANDUM

       The Defendant,    oward Richardson, was charged with the following offenses:

     Count One: Civil isorder, in violation of 18 U.S.C. § 231(a)(3);
     Count Two: Assau ting, Resisting, or Impeding Certain Officers Using a Dangerous
     Weapon, in violati i n of 18 U.S.C. § 111(a)(1) and (b);
     Count Three: Ente ing and Remaining in a Restricted Building or Grounds with a
     Deadly or Danger us Weapon, in violation of 18 U.S.C. § 1752(a)(1) and (b)(1 )(A);
     Count Four: Dis • rderly and Disruptive Conduct in a Restricted Building or
     Grounds with a eadly or Dangerous Weapon, in violation of 18 U.S.C. §
     1752(a)(2) and (b) 1)(A); 2
     Count Five: Enga ing in Physical Violence in a Restricted Building or Grounds
     with a Deadly or angerous Weapon, in violation of 18 U.S.C. § 1752(a)(4) and
     (b)(1 )(A);
     Count Six: Disord rly Conduct in a Capitol Building, in violation of 40 U.S.C.
     § 5104(e)(2)(D); d,
     Count Seven: Act of Physical Violence in the Capitol Grounds or Buildings, in
     violation of 40 U. .C. § 5104(e)(2)(F).

       On 27 April 20 2, the Defendant, Howard Richardson, appeared before the Honorable

Colleen Kollar-Kotelly    d entered a guilty plea to a reduced charge on Count Two of Assaulting,

Resisting, or impeding    ertain Offenses Using a Dangerous Weapon in violation of 18 U.C.S.

Section 111(a)(1). Sent ncing was deferred pending the completion of a Presentence Report.

Factual Basis of Guilty Flea

       Richardson lives in King of Prussia, Pennsylvania. On the morning of 6 January 2021,

defendant traveled from his home to Washington, D.C. to attend a rally in support of then-President
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Donald Trump and to p otest Congress's certification of the Electoral College vote declaring

Joseph Biden as Presiden Elect. Richardson made his way to the restricted area of the U.S. Capitol

grounds. The Capitol gr unds were protected by metal barriers and police officers attempting to

keep the crowd away fro     the building. For several minutes, Richardson stood among the crowd

and waved a blue and w ite Trump flag. Richardson proceeded to walk to the edge of the crowd,

toward the Capitol build g. Richardson approached the line of police officers and a set of metal

barricades.

        At approximatel     1:38 pm, Richardson was standing several feet away from the police

line holding his flagpole In response to the nearby emission of pepper spray, Richardson raised

the flagpole and forceful y swung it downward to strike in the direction of a police officer standing

behind the metal barrica e. Richardson's flagpole made contact with the hand and/or baton of the

police officer. Richards n raised his flagpole again, and forcefully swung it downward, striking

the officer on the hand nd/or baton for a second time. Richardson swung the flagpole down a

third time, but the flag ole broke mid-swing. Richardson retreated from the police line after

someone deployed pepp r spray or tear gas, and he backed away to shield his eyes. He remained

on the Capitol grounds until approximately 3:10 pm. The officer did not suffer any injury.

 Richardson never ente d the Capitol building. Richardson admits he intentionally swung the

 flagpole and that it made contact with the officer or an extension of the officer (baton held in hand).

 Richardson had no inten ion of injuring the officer, or any other person, on 6 January 2021.

 Presentence Report

         Neither counsel or Richardson have objections to the Presentence Report.

 Sentencing Guideline      ange
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       Richardson agree: with the sentencing guideline calculation and final guideline ranges set

forth in the Presentence Report. The final sentencing guideline ranges are thirty-seven (37) months

to forty-six (46) months c f imprisonment.

Sentencing Factors

       After consideratiin of the sentencing guideline range, the Court must consider the

sentencing factors set forth in 18 U.S.C. Section 3553(a). Those factors include: (1) the nature

and circumstances of the offense and the history and characteristics of the defendant; (2) the need

for the sentence imposed to reflect the seriousness of the offense, to promote respect for the law,

and to provide just punishment for the offense; (3) the need to afford adequate deterrence to

criminal conduct, and to protect the public from further crimes of the defendant; (4) the need to

provide the defendant with educational or vocational training, medical care, or other correctional

treatment in the most effective manner; (5) the guidelines and policy statements issued by the

Sentencing Commission . (6) the need to avoid unwarranted sentence disparities among defendants

with similar records whc have been found guilty of similar conduct; and, (7) the need to provide

 restitution to any victims of the offense. United States v. Tom/cu, 562 F.3d 558 (3d Cir. 2014) (en

 banc); 18 U.S.C.A. Section 3553(a).

      Nature and Circumstances of the Offense and the History and Characteristics of the
                                         Defendant

 Illegal Conduct


        Howard Richard on travelled to Washington D.C. on 6 January 2021 as did thousands of

 other United States citi e ns. Richardson believed to be true Former President Donald Trump's

 allegations of voter fraiL   allegedly committed during the November 2020 presidential election.

 Richardson hoped that t e Electoral College, or, then Vice President Michael Pence would declare

 President Trump the vic or on January 6th during the certification of the election. In other words,
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Richardson, a Trump sup otter, believed he was attending a potential celebratory event. At worst,

Richardson wished to de lare his support for President Trump and his four (4) year of service.

       Richardson broug t with him a backpack and a Trump flag mounted on a handheld flagpole

for his journey to the M 11. Richardson was not at the forefront of those who trespassed upon

Capital grounds, ove        lming the law enforcement officials and the barricades. Richardson

trailed many minutes b hind the original horde that descended upon the Capitol grounds.

Richardson admits that, pon his belated arrival, he ignored barricades and other indications that

he was not to continue f    her onto Capital grounds. However, Richardson did so.

        At one point duni g the event, and prior to the incident giving rise to his criminal actions,

Richardson was pepper- prayed by law enforcement officials who were randomly spraying the

large crowd. Richards n required the assistance of others to clear the spray from his eyes.

Eventually, Richardson      as situated near some scaffolding on the Capital grounds. He and the

crowd were separated fr m law enforcement officials by a metal barricade. Richardson did not

 pass over this barricade. It is clear from the video, that law enforcement officials and/or someone

 in the crowd, began to s oot pepper-spray toward Richardson and others on the crowd side of the

 barrier. The video depi ts a woman in very close proximity to Richardson begin to cover her

 face/eyes in response.      She took no physical action against law enforcement officials.

 Unfortunately, Richards n reacted differently and criminally. Richardson took a downward swing

 with his flagpole, to whi h his Trump flag was affixed, directly at the barricade and the hands of

 a law enforcement offic al. The flagpole struck the baton and/or hand of the law enforcement

 officer. In rapid succes on, Richardson took a second swing with the same result. On his third

 swing, the flimsy flagpo   broke in two halfway through the downward swipe. The flagpole broke
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in mid-air, not against tfte barricade. Richardson was pepper sprayed. This was the end of the

incident.

        Richardson never entered the Capitol building. Richardson ultimately left the District of

Columbia and returned h me the same day.

        When Richardson left for Washington D.C. from King of Prussia, Pennsylvania on January

eh, he had no intention of committing a crime. Unlike others, he did not travel there in a group.

He did not pre-plan actic n. He was not a leader. He was not an organizer. He was not in the

vanguard of those who stormed the Capitol grounds in the first wave. He attended the rally for the

previously mentioned political reasons. Despite having no ill-intent during the vast majority of

his day in Washington D.C., the conduct in which he engaged for less than ten (10) seconds was

                        I
irrational, unwarranted, legal, potentially dangerous and the product of a mind overborne by the

totality of the circumstances. The events were overwhelming to countless normal citizens.

Richardson has no excuse for acting in a potentially harmful, physical manner. He accepts full

culpability for the crime le committed.

        Richardson surrendered voluntarily to the law enforcement officials in Philadelphia less

than twenty-four (24) h urs of notification of the charges lodged against him. There was an

agreement that he be released on an OR bond. Richardson, in his dealings with Pretrial Services

in Philadelphia, refused t p answer some pertinent questions. Consequently, the OR bond deal was

rescinded, and he has renamed incarcerated for many months.

The Defendant

        Richardson pres ts as an intelligent, productive, self-made man who turned seventy-two

(72) years old in July. *th the exception of his time spent in the military, from which he received

an honorable discharge, kichardson has lived in the Philadelphia metropolitan area. Counsel is
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well-aware that the Court has read the Presentence Report thoroughly and will not reiterate the life

story of Mr. Richardson.

       It is important to highlight the following: Richardson is a loving father of successful

children; Richardson m ntains excellent relationships with the living members of his family;

Richardson adores being a doting grandfather; Richardson has worked countless hours to build

and maintain his pest co rol business; Richardson has no record of prior convictions; Richardson

has been in long-term      ationship with Linda Volpe with whom he resides; Richardson enjoys

good health overall bu     carceration has taken a physical and mental toll upon him given that the

rigors of prison are very ifferent for a man his age compared to someone much younger.

        Richardson's bus ness has struggled to remain viable. Ms. Volpe has done the best she can

to run the business by locating other pest control subcontractors to fulfill the contractual

requirements of the busi ess. Despite her best efforts, it is estimated that Mr. Richardson has lost

one-third (1/3) of the cli nt base he cultivated all these years during his incarceration. He is not a

wealthy man. The value of the business is by and large the value of his potential retirement fund.

 If the business continues o falter, the prospects of Richardson having meaningful retirement funds

 wanes. It is vital that he s back at the helm of his business sooner than later.

        Richardson does ot run a risk of additional criminal behavior given his past history and

 tremendous effect incarc ration has had upon him, his friends and his family.

 Acceptance of Respons bility

         The Defendant h s been fully contrite about his participation in the actions to which he has

 entered his guilty pleas. He has sought to plead guilty since the outset of the case. There are no

 more steps available to   m to express his contrition other than to reiterate it at sentencing.

        Need for the Sen ence to Reflect the Severity of the Offense and to Provide Just
                                          Punishment
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       Every offense wh ch results in a federal charge is a serious offense. Richardson's offense,

although limited in scope compared to hundreds of others who raided the Capitol grounds and

building that day and ass ulted law enforcement officials, fall within the serious offense category.

       What is a just se tence for a man who is seventy-two (72) years old, has an outstanding

professional history, raised excellent children, served honorably in the military, never endured

incarceration previously and participated in criminal activity, which was somewhat limited in

scope, albeit serious? A sentence of incarceration in the guideline ranges could very well cost

Richardson his business Ind any financial opportunity moving forward.

        The sentencing guidelines suggest a term of incarceration of at least thirty-seven (37)

months for the average person with this criminal history. The Probation Department recommends

a sentence of 18 mond s of incarceration followed by three (3) years of supervised release.

Richardson and counsel cannot quarrel with this recommendation. It reflects a careful weighing

of all of the sentencing factors by the Probation Department. Notwithstanding the reasonable

recommendation by the -)robation Department, Richardson asks this Court to reduce the sentence

even further so that he can return home to his friends, family and, critically, his business. After all

these years of excellent work in pest control, it would be sad to see it go for naught due to lengthy

continued incarceration. It would be very difficult for him, at his age, to rebuild the customer base

with an eye toward even ;ual retirement.

   The Need to Deter Future Criminal Conduct of this Type Generally and to Protect the
             Public frt m the Commission of Future Crimes by the Defendant

        The public requi Ts protection from any Defendant engaging in future criminal activity.

Richardson is not receiving a probationary sentence. Any member of the public would view his
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sentence as a deterrent gi en his age and the fact he still sent to jail for an extended period of time.

        It is highly unlike y Richardson will commit another criminal offense.


Need to Provide the De endant with Educational and Vocational Trainin Medical Care of
                             Other Correctional Treatment

        Richardson does ot have a need for educational or vocational training. Richardson is not

currently in need of med cal care.

                                 Guidelines and Policy Statements

        Other than the      ideline calculation to which Richardson does not object, there are no

particular guidelines or rolice statements which are pertinent.

                               Need to Avoid Sentencing Disparities

        A sentence of eighteen (18) months or less of incarceration will not create any sentencing

disparities with others sentence for criminal conduct arising from the January 6th riot given the

totality of the circumstar ces in this case.

                                               Restitution

        None.

                                        Financial Information

        None.

                                                         Respectfully Submitted,


                                                         /s/     Thomas C. Egan III, Esquire
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                                                                    Rebecca Matey
                                                                    3609 S. Banana River Blvd.
                                                                    Apt. C408
                                                                    Cocoa Beach, FL 32931



                                                                    July 18, 2022


Atty. Thomas C. Eagan, Ill
618 Swede Street
Norristown, PA 19401


Re: Howard Richardson


Dear Atty. Eagan:


Please find enclosed my I Th tter to be used as a character witness statement for my friend,
Howard Richardson.


Howard bought a timesh re at a resort that my parents built in the late 1980's . Through the
decades, I have come to now Howard well and our relationship has gone from a business
relationship to good frien ds.


I hope my letter to the cc urt can be of some help to Howard. Thank you.


                                                                    fly,
                                                                     Rebecca Matey


:rm
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                                                   Rebecca Matey
                                                   3609 S. Banana River Blvd.
                                                   Apt. #C408
                                                   Cocoa Beach, FL 32931

                                                   July 18, 2022

To Whom It May Concern:

Re: Howard Richardson

This letter to the court is bei g written as a character testimony for my friend, Howard
Richardson.

I first met Howard in the ear y 1990's when I started to work at my family's timeshare resort in
Cocoa Beach, Florida. Howard has been a timeshare owner at the resort that I now manage
since 1989.

My relationship with Howar started as a business relationship through my work, but it didn't
take long to get to know Horard better and become friends. Howard is a man of integrity, a
man of faith and a patriot. Fs an Army veteran, he served our country in Vietnam and then
with the NSA (with top secr t clearance), but his service has continued with his dedication to
the military and veterans. e also continues to serve his community by working at his local
polling precinct, which I beli ye is very honorable.

A man of faith, he is a 20 ye r member of his local church and has even been on a church
mission to Honduras. Howa d is a good family man and he has a very good & hard work ethic,
having owned his own exte minating business for years. His incarceration has taken a heavy
toll on his family, his partne Linda and his business — everything he loves and has worked so
very hard for over the years

Howard is a caring, giving, g nerous, honest and good man; a friend I am proud to know and
support. Thank you for any consideration given to Howard going forward.

                                                           Si cerely,
                                                                    W&Ade
                                                           Rebecca Matey
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                                                                         August 9, 2022




To Whom it May Concern



This letter is on behalf of oward Richardson and attest to his character as I know him.

Howard is an honest, har     -working business owner, who goes out of his way to service his clients. I
hired Howard to deal wi       a termite problem in my home. It was a difficult extermination, but Howard
didn't stop working on th     problem until it was fixed. Time and again, he returned even though he was
very busy and works as a      ne-man show. Every time I called, he was there within hours without
charging for extra service

Howard is an American P triot who served his country during Vietnam, a devoted father and a devout
Christian.

Sincerely,




ennifer Downing
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August 3. 2022

Howard Richardson
DOB: 07/08/1950


I would like to bring to your attention that Howard Richardson is a patient in my practice.
He has been diagnosed with bilateral foot neuropathy, borderline diabetes, severe left
thumb arthritis, and a recent elevation of prostate specific antigen of I 7.9, which puts him
at isk lur ii ("SUM: Lain.Li. flicsc conditions ' ,Ltd to 1K routincly monitored through haw,
diet modification, daily exercise and physical therapy. Left unchecked and untreated his
health will deteriorate,

If you have any questions or concerns,. please feel free to contact my office.




Respectfully,




Christopher Malsch, DO,


    Dr. Chestophe.,7Maisch
   233W. GerroantDvon pike
    fq:::gristown, PA 19431
    " bl 0-272-234F
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Dear Honorable Judge

Thank you for taking the ti    e to read my letter to you concerning our dear friend Howard Richardson.

We have known Howard fo        over twenty years. A friend recommended him to us, said he attended their
church, and that he could e    terminate our home for carpenter ants. Howard was so professional, funny
and friendly, that we invite    him and his girlfriend Linda to our Halloween Party later that weekend, that
was how fast we felt comfo     table with him. Feeling comfortable with a person entering our home
monthly to exterminate is i     portant, and we recommended him to our friends and neighbors who also
used his services.

Our kids loved when Howa d came because he would take the time to chat with them and their friends,
like an uncle and our dogs I •ved him too and followed him throughout the house, tails wagging. Dogs
know. We enjoyed his corn any so much that sometimes had him stay for dinner or at least a cup of
coffee and we developed a friendship with him which included summer picnics at their house, New
Year's Eve movie and dinn r plans and he always invited us to join him and Linda at his timeshares for
vacations, along with his o er friends. He wanted to share it with us all. We continued to use Howards
services until we sold our h me this past June and moved out of state.

Howard is a wonderful per on, and we were shocked and sickened to learn he was in prison, but we
stand by him, because we now him. The Howard we know, and love is not a dangerous man. His son is
a police officer, so we kno he respects authority and officers of the law. We know this without
question.

He is a Christian and not ju   t since he went to prison, he has always been a believer and a God fearing
man. We know that he has       made good use of his time to host a bible study with his fellow inmates and
did his best to run his exte   minator business from inside a prison, his friends and family helping him, his
customers standing by him       because they want to help their good friend, of which he has many because
he is a good friend to all.

We have always known Ho ard to be a stand-up person, with principles and morals, a man who says
what he means and means what he says, someone who served his country in the military, patriotic and
proud of his country, who I ived a good life, working hard and raising his family.

Please rest assured that w en Howard is released, society is safe and that he will only be adding to the
good in society.

Thank you for your time.

 God Bless you

 William and Christine Gilli
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Maureen Richardson                                                                               July 14, 2022
200 E. Hector St.
Conshohocken, PA 19428


Your Honor,

I am one of Howard's 9 niece and nephews. I am the daughter of his eldest sister, Dorothy. Howard is the oldest
and has 5 siblings. As I sit her and write this letter today on the 7th anniversary of my mom's passing, I am able to
reflect on all of our family me odes. It is bittersweet as there are so many happy memories with all of my aunts and
uncles and sad as many of th m have passed on. It pains me knowing my uncle is incarcerated and I miss him
deeply. We have faced trials d tribulations such as any family has. Our continued confidant was my uncle. He is
the patriarch of our family; a OCK if you will. I have witnessed my uncle help and support all of his siblings with their
immediate family's hardships me and time again. He would do so without blinking an eye, though he had his own 3
children to care after. His sup ort has always continued even now as we were all grown adults.

I would like to share with you y personal experience of my uncle's selfless support to my mother and I. My father
passed away suddenly when was 7 years old, leaving my mother a single mom. My uncle was always present in our
lives, but during this time he ade it a point to always visit, check in on my mom, and offer to take me places as busy
as he was running his own ex erminating business. He has been managing and operating his own business for 45
years and is still operating todr. Every visit and family function, he was always in his work uniform. He is one of the
hardest working men I know, however he has always made time for God. My first experience going to a church was
with my uncle. He has never f rced his religious beliefs on me but would ask if I would like to go with him. I said,
"Yes," of course. He even got me a spot in the Annual Christmas show every year. This was something we did
together.

One of my fondest childhood iemories is my uncle taking me and my mom to Disney World. I remember this day like
it was yesterday. We drove al the way to Florida, vacationed for a week and spent a day at Disney. It really was
magical and he gave me this Memory because it was important to him for me to have a childhood full of magical
memories even without my fatter. My uncle stepped in as the father figure in my life without hesitation.

A few heartwarming facts about my uncle that are examples of the man that he is are serving his county in the U.S.
Army, a Vietnam Veteran, paying his own way to Honduras on a church mission, has voted in every election since he
was of age, has belonged to t e same church for 20 years, volunteered working at election polls and a true provider
for his family. He is the All-A erican family man.

My Uncle's presence in my lif has given me the example of what a decent, genuine, caring, selfless human is. An
entrepreneur, a true patriot, a veteran, a person of God, a good friend, a philanthropist and most of all a family
person.

I hope my letter has shed so      e light on who the man is standing before you. I know you are faced with difficult
decisions every day. Howard        ichardson is not a malicious man nor holds any ill will towards anyone. He has taken
accountability and has receiv     d consequences for his actions. I pray that you see his incarceration as acceptable
retribution and rehabilitation.   lease choose to send him home to his family, friends and business.

Sincerely,
Maureen Richardson
mobella31@gmail.com
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July 14, 2022


To Whom It May Concern:

My name is Tim Lc o. Howard Richardson is my uncle. Uncle Howard has always been
there for me and my family. When I was 16 years old, Uncle Howard cosigned for my
first car. I will never forget that. Growing up I always looked up to him because of the
man he is. He is ve-y respected by everyone. He has been running a successful business
for as long as I can remember. He never judged anyone for the wrong they have done. He -
would try to under:land and help in any way possible. Recently Uncle Howard has been
trying to help my s:ster get back on her feet. She has had an addiction problem and fell on
hard time. I spoke b him on the phone while he's been incarcerated, and he continues to
ask how I am doint and if I need anything even though he is in a tough spot.

Uncle Howard has lone many good things such as serving our country in the Army. He
fought for our couttry in the Vietnam War. He runs a successful business which he was
just about to put up. for sale so he could enjoy retirement in Florida. He will now have to
rebuild that businec s before he can retire. Please consider releasing my Uncle Howard
with time served sc he can get back to his life and enjoy his family.

Sincerely


   7/J-
Tim Leo
tintleo I O ilivahoo corn
215-431-5906
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Virginia Richardson
3608 Essex Lane
Philadelphia, PA 19114                                                         July 6, 2022




Your Honor,

My name is Virginia Ric ardson and I am the daughter of the defendant Howard Richardson. I
am writing on behalf of y father. I am the oldest of Howard's 3 children. My father is a proud
and loving Pop Pop to 8 grandkids and 1 great grandchild.

In his earlier years, he     rved in the Vietnam War. After serving, he decided to start his own
business in 1977, whic      is currently still operating. My father is active in the church and serves
the community regular'     . Over the years, my father has also volunteered with various charities
and has been very gen      rous with his money to the underprivileged. In the early 90's, he even
traveled to Honduras to    help build houses for low income families that were affected by the
devastating storms.

Prior to this incident, m father was planningto sell his business and retire at the age of 72.
Unfortunately, now he ill not be able to retire. Over the past? months, his incarceration has
affected the family and reated an extreme hardship for his dear friend Linda Volpe. Linda has
stepped up into a critic role over the past months. She has kept his business and personal
finances going on a da to day basis while still working her own full time job.

My father has express       remorse over this incident. He has realized that his actions have hurt
not just himself but his     ily, close friends, and his business. I have confidence that he will
make better decisions       he future. I hope you will consider the testimony in this letter before
this court.




 Sincerely,




 Virginia Richardson
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Kimberly Cichonski
11 Parry Road
Cinnaminson, NJ 08077
Kimmy0526@msn.com
                                                                                               July 13 th 2022




To Whom It May Concern,

My name is Kimberly Cich      nski and I am the daughter of the defendant Howard Richardson. I was raised
by my parents in Philadelp     ia and moved to New Jersey with my husband, two daughters and mother in
law about 10 years ago. I     am lucky to have two siblings; an older sister and a twin brother. As I read
over other letters written    n behalf of my father, I see that we all have the same thoughts and feelings
regarding my father.


My father was the first bo    n into a family with 5 siblings; 1 brother and 4 sisters. Throughout my life, I
have always seen my dad         a strong and dependable father, brother, uncle and grandfather. My father
has always been a man of      aith and has been a member of the same church over 20 years. He is a true
patriot and veteran who s      ved in Vietnam. Over the last 45 years has own his own exterminating
business and has always o      ered a helping hand to those in need. In short, his is a good person with a
passion for his beliefs and   a true dedication to his family.


Prior to his incarnation, m father had been working 6 days a week to maintain the level of service his
customers have come to e (pect. He had begun to make plans to sell the business as it was time to
retire. He wanted to spen more time with his family and travel more. Unfortunately, retirement will
now be out of reach. This ordeal has placed an extensive amount of stress and created a financial
hardship for our family as well as dear friend Linda Volpe. Linda has been the glue holding us all
together — keeping us up to date with news from his lawyer while doing her best to maintain his
business and household.


I know that my father has hought a lot around the events of January 6 th and the actions taken with
much sadness and regret. It was never his intent to cause anyone harm and truly sees the heartache
and pain that he has caused for himself, our family and close friends.


It must be difficult for you to make decisions like this when you do not actually know the person
standing in front of you. I lope that look at my letter and the dozens of other letters that you are
receiving and understand hat Howard Richardson is the kind of person around whom people rally.
Thank you for taking the time to read my letter and to learn a bit more about my father. I love and miss
him dearly and want nothiig more for him to come home.



Sincerely,

             0/..040.,444

Kimberly Cichonski
8/17/22, 8:10 PM
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                                                       Whom It May Concern
                                                          Filed 08/17/22 Page 19 of 22
     From: richandrews7@gmail.com ,
         To: tom101861@aol.com ,
   Subject: To Whom It May Concern
      Date: Fri, Aug 5, 2022 9:44 am


  To Whom It May Concern

  I am a friend of Howard Richa               on and have known Howard for over fifteen years.

  We attended Hope Community hurch together in King of Prussia. He actively participated in our church
  outreach to help the people in H iti after the 2010 earthquake. He rented us his time share in Florida for our
  anniversary. As a real estate age t, I recommended his service (pest control) to clients.

  Howard has been nothing but res. pectful, friendly and kind during our friendship.

   Sincerely,

  Richard L Andrews, Jr.
  412 Union Avenue
  Bridgeport, PA 19405
  610-202-4988
  richandrews7@gmail.com




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8/17/22, 8:10 PM                                           Fwd: letter
                       Case 1:21-cr-00721-CKK Document 34 Filed 08/17/22 Page 20 of 22
     From:     lindamvolpe@aol.com ,
       To: tom101861@aol.com ,
   Subject: Fwd: letter
       Date:   Mon, Aug 8, 2022 10:53 pm



      Original Message
  From: Kathryn Perretta <kass.perrett @gmail.com >
  To: lindamvolpe@aol.com
  Sent: Wed, Jun 29, 2022 9:30 am
  Subject: letter

  Carl & Kathryn Perretta
  205 Brownlie Road
  King of Prussia, PA 19406

   To Whom It May Concern:

   Carl and I have known Ho ard Richardson for over 25 years. We first met him when we
   were looking for an exter inator to do a large job at our home. We interviewed a few
   candidates, but Howard st od out among his competitors. Upon meeting him for the first
   time we realized his knowl dge of the business and his sincerity. After hiring him we came
   to know his honesty and i tegrity, and what a wonderful work ethic he had. Unlike some
   other exterminators we ha heard about, Howard was upfront and honest in his pricing and
   work ethic.
   As he continued to exterminate our house we became friends. We have been his his
   home, he has been to our and we have traveled with him.
   Howard is a very religious man with a deep faith in God. Many Sundays, on his way home
   from religious services, h stops by our home just to say hi.
   Howard is also a veteran ho honorably served our country. He continues to lend support
   to our troops in varied wa s. He is always available to help a fellow veteran or anyone
   who needs his assistance
   We are proud to call How rd our friend.

   Sincerely,
   Carl and Kathryn Perretta




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                                 CERTIFICATE OF SERVICE

       I, Thomas C. Ega III, Esquire, hereby certify that I caused this Sentencing Memorandum

to be served upon the following persons and/or entities via electronic filing:


                                          Clerk of Courts
                                    United States District Court
                                      District of Columbian

                                 Honorable Colleen Kollar-Kotelly
                                   United States District Court
                                      District of Columbia

                                        Emily Allen, Esquire
                                  Assistant United States Attorney
                                         222 W. 7th Avenue
                                         Anchorage, Alaska




Date: 8/17/22
                                                       /s/     Thomas C Egan III, Esquire
